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                      Exhibit 2
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NORTH CAROLINA                          •           •    j         .
RALEIGH DIVISION




SUZANNE M. ADAMS;                                '~," `
                                                     ,•. . .. . .. 4~       ~,,. . •_> . t-'

Plaintiff,                                          ~t

V.


BAYER CORPORATION AND BAYER
HEALTHCARE PHARMACEUTICALS,
INC.

Defendants,




Civil Action No.:


C OIVIPI.,AIN'I'



NOW COlVIES: Plaintiff, Suzanne Marie Adams ("Plaintiff'), Pro Se, and hereby brings this Complaint for
damages against Defendants Bayer Corporation and Bayer Healthcare Pharmaceuticals, Inc., alleges the
following:

IN'I'IZODUC'I'ION

1.This is an action for damages suffered by Plaintiff as a direct and proximate result of Defendants'
negligent and wrongful conduct in connection with the design, development, manufacture, testing,
packaging, promoting, marketing, advertising, distribution,
labeling, and/or sale of the pharmaceutical drug Ciprofloxacin ®(hereinafter, "Cipro"), also known as
Ciprofloxacin sold and manufactured by Bayer Defendants.
2. Plaintiff maintains that Ciprofloxacin is negligently and unreasonably defective, dangerous to human
health, unfit and unsuitable to be marketed and sold in commerce to treat infections for which they are not
required and lacked proper warnings and directions as to the dangers associated with its use, all in violation
of the North Carolina Products Liability Act, N.C. Gen. Stat. § 99B-1 et seq., andNorth Carolina common
law.
3. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 because the amount in
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controversy exceeds $25,000, exclusive of interest and costs. Defendants are all either incorporated or have
their principal place outside ofthe state in which the Plaintiff resides.
4. The Court also has supplemental jurisdiction pursuantto 28 U.S.C. § 1367.
5. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, in that Defendants conduct business here and
are subject to personal jurisdiction in this District. Furthermore, Defendants sell, market and/or distribute
Cipro within North Carolina and this District.

PAIt'I'IES

6. Plaintiff and Pro Se, Suzanne Adams, is a natutal person and a resident and citizen of Wake County,
North Carolina. Plaintiffresides at 202 April Bloom Ln Cary, North Carolina27519. Plaintiff brings this
action for personal injuries sustained using Cipro. As a direct and proximate result of being prescribed and
ingesting Cipro, Plaintiff sustained personal injuries, including irreveisible peripheral neuropathy which is
lasting in nature, physicaJ pain, and mental anguish, including diminished enjoyment of life, physical
impairment, expenses for hospitalization and medical treatment, disfigured and partially atrophied right leg,
a permanent limp, tendinitis, multiple tendon ruptures in right leg and arms, among other damages
7. Defendant BayerCorporation is an Indiana corporation with its principal place ofbusiness at 100 Bayer
Road, Pittsburgh, Pennsylvania 15205.
8. Defendant Bayer Corp. has transacted and conducted business within the State ofNorth Carolina and
derived a vastly substantial revenue.
9. Defendant Bayer Corp. has derived substantial revenue from goods and products used in the State of
North Carolina.
10.Defendant Bayer Corp. expected or should have expected its acts to have consequences within the State
of North Carolina, and derived substantial revenue from interstate commeree.
11. Defendant Bayer Corp. was engaged in the business of designing, developing, manufacturing, testing,
packaging, marketing, distributing, labeling, and/or selling Cipro.
12. Defendant Bayer Healthcare Pharmaceuticals, Inc. ("Bayer Healthcare") is a Delaware corporation that
has its principal place ofbusiness at 100 BayerBlvd, in Whippany, NewJersey 07981.
13. In January 2008, Bayer Pharmaceuticals Cotporation was merged into Defendant B ayer Healthcare.
"Bayer Corp. (formerly known as Miles, Inc.) is an American subsidiary of a German parent, Bayer AG. "
14.Bayer Pharma AG is formerly known as Bayer Schering AG and is the same corporate entity as Bayer
Schering Pharma AG, which was formerly known as Schering AG and is the same corporate entity as
Schering AG.
15. Upon information and belief, Schering AG was renamed Bayer Schering Pharma AG effective
December 29, 2006, and upon information and belief, Bayer Schering Phamza AG was renamed Bayer
Pharma AG effective July 1, 2011.
16. Bayer Pharma AG engages in the research, development, manufactuting, sale and/or marketing of
pharmaceutical products, including Cipro and Ciprofloxacin (generic).

JUItISI)IC'I'ION A>TI2 VENUE

17. Plaintiff maintains that Ciprofloxacin is negligently and unreasonably defective, dangerous to human
health, unfit and unsuitable to be marketed and sold in commen e to treat infections for which they are not
required, and lacked proper warnings and directions as to the dangers associated with its use, all in violation
of the North Carolina Products Liability Act, N.C. Gen. Stat. § 99B-1 et seq., and North Carolina common
law.
18. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 because the amount in
controversy exceeds $25,000, exclusive of interest and costs. Defendants are all either incorporated or have
their principal place outside ofthe state in which the Plaintiff resides.
19. The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.
20. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, in that Defendants conduct business here
and are subject to personal jurisdiction in this District. Furthermore, Defendants sell, market and/or
distribute Cipro withinNorth Carolinaand this District.
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FACTUAL ALLEGATIONS

21. Plaintiffwas prescribed and otherwise lawfully obtained Ciprofloxacin.
22. Plaintiff suCfered irreversible peripheral neuropathy, including pain, burning, tingling, numbness,
weakness, alterations of sensation, and undenvent four separate surgeries for tendon ruptures of the right leg
and riglit arm.
23. FLQs (of which Cipro belongs) are broad-spectrum synthetic antibacterial agents marketed and sold in
oral tablet, IV solution, and ophthalmic solution, used to treat minor lung, sinus, skin, and urinary tract
infections caused by certain germs called bacteria. They are members ofthe quinoline class of antibiotics.
24. On July 26, 2016, the FDA determined that FLQs (including Cipro) should be reserved for use in
patients who have no other treatment options for serious bacterial infections, not for minor urinary tract
infections that occurred in the plaintiff.
25. Some twenty plus years ago, in the early 1980s, fluorinated derivatives of the quinolines emerged,
revealing a broader, more potent antibiotic, effective against common gram-negative and gram-positive
bacteria. These so-called second generation quinolines included Cipro.
26. Cipro was approved by the United States Food and Drug Administration ("FDA" October in 1987 for
use in the United States and is the brand name for the antibiotic ciprof7oxacin. Since its introduction to the
market in the United States in 1987, the Bayer Defendants have derived over $1 billion in U.S. net sales of
all Cipro products. Cipro went off patent on December 9, 2003.
27. Fluoroquinolones have longbeen associated with serious side effects." ("FILED U.S. DISTRICT
COURT DISTRICT OF NEBRASKA UNITED ...") Indeed, most fluoroquinolones have been removed
from the United States market due to unacceptable risks of certain adverse events. For example, Omniflox©
(temafloxacin) was removed from the market in June 1992 only six months after approval due to low blood
sugar, kidney failure, and a rare form of anemia; Trovan® (trovafloxacin) was removed from the market in
June 1999 due to severe liver toxicity; Raxar® (grepafloxacin) was removed from the market in October
1999 due to QT-interval prolongation; Zagam® (sparfloxacin) was removed from the market in July 2001
due to QT-interval prolongation; and most recently, Tequin® (gatifloxacin) was removed from the market in
May 2006 amid reports of severe blood sugar reactions such as hyperglycemia and hypoglycemia.
28. On 15 November 2018, EMA (European Medicines Agency) finalized a review of serious, disabling and
potentially permanent side effects with quinolone and fluoroquinolone antibiotics given by mouth, injection,
or inhalation. The review incorporated the views of patients, healthcare professionals and academics
presented at EMA's public hearing on fluoroquinolone and quinolone antibiotics in June 2018. EMA's
human medicines committee (CHMP) endorsed the recommendations of EMA's safety committee (PRAC)
and concluded that the marketing authorization of inedicines containing cinoxacin, flumequine, nalidixic
acid, and pipemidic acid should be suspended. The CHMP confirmed that the use of the remaining
fluoroquinolone antibiotics should be restricted. In addition, the prescribing information for healthcare
professionals and infonnation for patients will describe the disabling and potentially permanent side effects
and advise patients to stop treatment with a fluoroquinolone antibiotic at the first sign of a side effect
involving muscles, tendons or joints and the nervous system. Restrictions on the use of fluoroquinolone
antibiotics will mean that they should not be used: to treat infections that might get better without treatment
or are not severe (such as throat infections); to treat non-bacterial infections, e.g. non-bacterial (chronic)
prostatitis; for preventing travelers' diarrhea or recurring lower urinary tract infections (urine infections that
do not extend beyond the bladder); to treat mild or moderate bacterial infections unless other antibacterial
medicines commonly recommended forthese infections cannot be used.
29. The CHMP opinion was forwarded to the European Commission, which issued a final legally
binding decision on 11 March 2019 for other quinolone and fluoroquinolone antibiotics given by mouth and
by injection, which is applicable in all EU countries. National authorities will enforce this decision for the
fluoroquinolone and quinolone medicines authorized in their countries and they will also take othei-
appropriate measures to promote the correct use of these antibiotics.
30. The scientific evidence has established an increased risk of long-term and sometimes irreversible
peripheral neuropathy, no matter whether the medication is stopped, or not once symptoms develop.
31. Priorto applyingto the FDA for and obtainingapproval oftheir FLQs, Defendants knew or should have
known that consumption of FLQs were associated with and/or would cause chronic andlor permanent
peripheral neuropathy. ("IN THE UNITED STATES DTSTRTCT COURT FOR THE EASTERN ...")
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32. By 1988, Defendants possessed at least one published case report (funded in part by Bayer),' which
Defendants knew or should have known constituted a safety "signal" that the use of FLQs was associated
with "peripheral paresthesia" (a fot-m of periphei-al nei-ve damage) and required further investigation and
study. ("THOMAS SIMS (SBN 264174) tsims@baronbudd")
33. Defendants failed to appropriately and adequately inform and warn Plaintiffs and Plaintiffs' prescribing
physicians ofthe serious and dangerous risks associated with the use of FLQs concerning irreversible
peripheral neuropathy, as well as other severe and personal injuries, which are permanent and/or long-
lasting in nature, cause significant physical pain and mental anguish, physical impairment, diminished
enjoyment of life, and the need for medical treatment, monitoring and/or medications.
34. The warning labels for Cipro from September 2004 through August 2013 misled and deceived the
plaintiff and her treating physician by incorrectly advising them that peripheral neuropathy associated with
FLQs was "rare" and in any case could be avoided by discontinuing the dtug upon the onset of cei-tain
symptoms. The truth, however, is that the onset of irreversible peripheral neuropathy is often rapid
symptoms. ("Peripheral Neuropathy from Levaquin Caused Permanent and ...") The truth, however, is that
the onset of irreversible peripheral neuropathy is often rapid, and discontinuation of the drug will not ensure
that the peripheral neuropathy is reversible. "Defendants misled patients and physicians by omitting any
mention of the possibility that FLQ use could result in irreversible peripheral neuropathy."
35. Further, though this injury can be severe and debilitating, the language regarding the "rare" risk of
peripheral neuropathy was buried at the bottom of an extensive list of adverse reactions that were included
on the Defendants' FLQ labels; the language was in no way highlighted for the benefit of prescribing
physicians and patients. Additionally, upon           information andbelief, followingthe 2004 label change
Defendants did not issue any "Dear poctor" or "Dear Healthcare Professional" lettets in the United States
that were specific to Cipro, and the risk of developing irreversible peripheral neuropathy. Further,
Defendants failed to disclose the serious and dangerous side effect of irreversible peripheral neuropathy
when promoting Cipro to physicians. Despite their knowledge that their FLQ drugs were associated with an
elevated risk of prolonged and/or permanent peripheral neuropathy, Defendants' promotional campaign was
focused onthe purported"safety profile" oftheirFLQs.
36. FDA regulations require that manufacturers monitor and report adverse events ("AEs") associated with
their marketed products. 21 C.F.R. § 314.80; 21 C.F.R. § 314.81. The manufacturers are required to review
all adverse experience information pertaining to their products obtained from any source, foreign or
domestic, including from commercial marketing experience, post-marketing clinical investigations, post-
marketing epidemiological/surveillance studies, reports in the scientific literature and unpublished scientific
papers. Manufacturels review this infoi-mation for safety "signals." The FDA has recognized that case
reports and case series can play important roles in serving as safety signals." in fact, the FDA states that a
single, well-documented case report can be viewed as a safety signal, particularly if the report describes a
posltive rechallenge. ("UNITED STATES DiSTRICT COURT SOUTHERN DiSTRiCT OF NEW YORK")2
37. Indeed, even a solitary case report may be sufficient to establish a causal relationship between the use of
a product and an adverse event.3
38. In the phannaceutical industry, includingwithin Defendants' companies, safety signals indicate the need
for further investigation.4
39. After a signal is identified, the Bayer Defendants are obligated to further assess the signal to determine
whether it represents a potential safety risk that should be included in product labeling.
40.The Bayer Defendants claim that "[w]e maintains accurate product labels that share infonnation about
the benefits and risks associated with fluoroquinolone use and report all adverse events we leam about to flie
FDA."5
41. Despite these representations, as early as 1988 there was evidence in the medical literature of peripheral


' See Therapy ofacuteandchrontcgram-negativeosteomyelflis ivilh clprof7oxacin. Reportfrom a Sivedfsh Study Group (Karlman, K. et al.). J
Antimicrohe Chemother/988Aug;22(2):22/-8.
Z See U.S. Department ofHealth and Human Services, Food and Drug Administration, Guidance for ]ndustry: Good Pharmacovigilance Practioes
and Pharmaooepidemiologic Assessment (2005).
3
  See Principles & Practiceof Public Health Surveillance, at p. 343. Stev ai M. Teutsch & R.
ElliottClrurchill,eds. Third Edition, Oxford UniversityPress, 2010.
4
  See Guidance for Industry: Good Pharmacovigilance Practices and Ph arm acoepid emiologic Assessment(2005).
5 https://www.wasliingtonpost.com/nationaUhealth-science/it-pays-to-mad-tlie-wamings-when-
you-open-up-a-prescription/2015/08/03/a29elllrl-d70e-I le4-b3f2-607bd612aeac story.html.
4
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 nerve damage associated with FLQ therapy (Ciprofloxacin), representing a safety "signal" that the Bayer
 Defendants ignored in violation of the federal regulations. 6 Specifically, in a report from a Swedish Study
 Group, funded in part by Bayer, Karlman et al. reviewed 40 patients treated with Ciprofloxacin for acute or
 chronic osteomyelitis (38) and acute arthritis (2). The authors identified nine patients with adverse
 experiences. 33. Ofthese nine adverse experiences, the authors reported one case of"peripheral paresthesia"
whicli they found was "probably related" to Ciprofloxacin treatment.'
42. Thereafter, a 1990 study by Chan et al. reviewed twenty-seven patients treated with the fluoroquinolone
 Peflox for urinary tract infections.8 One patient developed peripheral neuropathy that resolved 4 weeks after
discontinuation, generating an incidence rate of 3.7%. The authors concluded that "[its peripheral
 neuropathy's] relation to the use of pefloxacin was indisputable, since it recurred on re-introduction ofthe
drug." (Emphasis added). Reviewers at the FDA's Office of Surveillance and Epidemiology (OSE)
concluded in an April 17, 2013, pharmacovigilance review that this case represents a positive DE challenge.
43. Then, in 1992, Aoun et al. published a case report titled "Peripheral neuropathy associated with
fluoroquinolones."9 Specifically, the authors reported an association between the use of pefloxacin,
ofloxacin and Ciprofloxacin and peripheral neuropathy in a 37-year-old patient. The case report was
notable for numerous positive DE challenges and rechallenges ofthe fluoroquinolones in the patient,
resulting in reviewels at FDA's OSE to characterize the quality ofthe evidence reported as a"persuasive
case."
44. In 1996, Hedenmalm et al. reported the results from a review of thirty-seven patients treated with
fluoroquinolones.10 Ofthose, 8 1 % experienced paresthesia, 5 1% experienced numbness, 27%experienced
pain, and 11% experienced muscle weakness. The highest incidence of reported symptoms occurred during
the first weeks of treatment. ("Can Fluoroquinolones Cause Peripheral") The duration of symptoms in the
cases where information was provided varied from a few hours to over a year. ("The onset of symptoms
after start of treatment varied from ...") According to reviewers at FDA's OSE, the quality of evidence from
at least twenty of the tliirty-seven cases seemed to be "strong with both a good temporal relationship and a
positive DE challenge."
45. One ofthe first large scale studies in the United States that included the post market experience
concerning fluoroquinolones and neuropathy was "Peripheral Neuropathy Associated with
Fluoroquinolones" written by Jay S. Cohen. The Cohen paper was published in December 2001 and
revealed that adverse events reported by forty-five patients suggested a possible association between
fluoroquinolones and long-term peripheral nervous system damage. The study noted in particular; the
presence of severe and/or persistent nerve problems. Over one-half of the patients surveyed said their
symptoms lasted for more than a year, and eighty percent characterized their symptoms as severe.
("CHIMICLES & TIKELLIS LLP") The Cohen paperrecommended further investigation ofthe association
between fluoroquinolones and peripheral neuropathy. The study concluded with the following advisory: "If
the occurrence of fluoroquinolone-associated ADEs of this severity and duration is confirmed, physicians
need to be infonned and warnings might be considered for these drugs' product information."
46. Beyond the numerous safety signals generated by internal post marketing review and the medical
literature, Defendants were also put on notice of an association between fluoroquinolone use and peripheral
neuropathy by the FDA, in 2001 and again in 2003.
47. In 2001, the Division of Drug Risk Evaluation within the Office of Drug Safety uncovered thirty-five
6
   See 21 C.F.R. 201.57(e) (product label must be revised as soon as there was reasonable ev idenoe of an as sociation o f a serious hazard with the
drug; a causal relationship need not havebeen proved).
7
   See Karlman, K. et al. (Reportfroma Swedish Sludy Group). Therapy ofacute and chronic grani-negative osteomyelitis witli ciprofloxacin.J
Antimicrobe Chemother 1988 Aug;22(2):22 I-8.
" Chan, PCet al., Clinicalexperiencewith pefloxacin in patient with urinary tract infections, Br..l Clin. Pract. 1990.
° Auon, M. etal Peripheralnew•opathyassociatedwithfluoroquinolones. Letterto Edifor. Lancet. 1992.
!° Hedenmalm, K. etal Peripheralsensorydisturbancesrelatedtotreatmentoffluoroquinolones.J. Antimicrobe. Chemother. 1996; 37:831-7.
10 SeeGuidanceforindacsby: GoodPharmacavigilancePracticesartdPlrarnracoepidemiologicAssessntent(2005).("Dispropa4ionalityAnalyses

Misused by Lawsuit Industry')
10 https:/hinviv.ivashingtanpost.cnm/nalional/health science/it-pays-to-read-the-warnings-ivherr-
you-open-up-a presa•iption/2015/08/03/a29e11 b4-d70e-11e4-b3f1-607bd612aeac_story.html.
ro
   htlps://ivuw.washingtanpost.com/national/health sciencertAays-to-read-the-warnings-when-
you-open-up-a presa•iption/2015/08/03/a29e11b4-d70e-11e4-h 3f1-607bd612aeac_stoiy. html.
'0 See 21 C. F.R. 201.57(e) (product label must be revisedas soon as there wasreas•onable evidencz ofanassoctation ofa serious hazardivith the
drug; acausalrelationshipneednothavebeenproved).
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 reports of quinolone-associated peripheral neuropathy and forty-six cases of potentially prolonged
 paresthesia collected by the FDA's Adverse Event Reporting System ("AERS") for the quinolone class
(includingreports for Ciprofloxacin, ofloxacin, and levofloxacin). Twenty-eight ofthese cases lasted over
one month, with some patients still experiencing symptoms two years after fluoroquinolone use.
48. In 2003, FDA's Office of Drug Safety conducted an additional post-marketing safety review of the AEs
reported in the FDA's AERS for those who had been treated with Ciprofloxacin (Cipro), ofloxacin
(Floxin), and/or levofloxacin (Levaquin). The AERS contained 108 unduplicated cases reported as
peripheral neuropathy, or events suggestive of peripheral neuropathy, lasting at least one month in patients
who had been treated with Ciprofloxacin, ofloxacin and/or levofloxacin. As noted in the FDA's Office of
Drug Safety review report dated June 10, 2003, the cases were temporally associated with fluoroquinolones,
with a median time to onset of a few days. Genderdistribution was approximately equal. The report further
stated that these cases provided an indication that the fluoroquinolones could have been responsible for the
prolonged peripheral neuropathies. As a result of its review, the Office of Drug Safety recommended that
"peripheral neuropathy" be added to the labeling for Ciprofloxacin and levofloxacin as it had been for
ofloxacin.
49. In September 2004, Defendants amended the labeling for Cipro (Ciprofloxacin) and Levaquin
(levofloxacin). The amended label contained the following statement in the Warnings section: Peripheral
Neuropathy: Rare cases ofsensory or sensorimotor axonal polyneuropathy affecting small and/or large
axons resulting in paresthesia, hypoesthesia, dysesthesias, and weakness have been reported in patients
receivingquinolones, includinglevofloxacin. ("UNITEDSTATESDISTRICTCOURTMIDDLEDISTRICT
OFPENNSYLVANIA') Levofloxacin should be discontinued ifthe patient experiences symptoms of
neuropathy includingpain, burning, tingling, numbness, and/or weakness or other alterations ofsensation
includinglight touch, pain, temperature, position sense, and vibratorysensation in order to prevent the
developmentofan irreversible condition.
50. In August of2013, after mounting evidence ofthe relationship between fluoroquinolones and severe,
long-term peripheral neuropathy, the FDA determined that Defendants' existing warnings regarding
peripheral neuropathy were inadequate. On August 15, 2013, an updated warning and accompanying safety
communication was issued in which the risk of rapid onset of irreversible peripheral neuropathy was finally
included in the labels for all fluoroquinolones, including Cipro, Avelox and Levaquin. The updated warning
also removed the statement that peripheral neuropathy occurred only in "rare" cases: Cases ofsensory or
sensorimotor axonal polyneuropathy affectingsmall and/or large axons resulting in paresthesia,
hypoesthesia, dysesthesias, and weakness have been reported in patients receivingfluoroquinolones,
including[drug name]. Symptoms may occur soon after initiation of[drugname] and may be irreversible.
[Drug name] should be discontinued immediately if the patient experiences symptoms of neuropathy
includingpain, burning, tingling, numbness, and/orweakness or other alterations ofsensation including
light touch, pain, temperature, position sense, and vibratorysensation.
51. Additionally, Defendants' updated label does not disclose theserious, progressive, and disabling nature
of FLQ-induced irreversible peripheral neuropathy.
52. Upon information and belief, Defendants failed to provide adequate information to the medical
community about the frequency with which AEs indicative of peripheral neuropathy were being reported.
Prior to the August 2013 label change, Defendants knew or should have known that FLQ-associated
neuropathies could be rapid, permanent, and disabling, and that such injuries were not, as they had been
stating, "rare." For instance, fl•om September 2004 through August 2013, the FLQ labels stated that "Rare
cases of polyneuropathy affecting small and/or large axons resulting in paresthesia, hypoesthesia,
dysesthesias and weakness have been reported in patients receiving quinolones" (emphasis added). The pre-
2013 FLQ labels further represented that "the most common adverse drug reactions (≥3%) are nausea,
headache, diarrhea, insomnia, constipation, and dizziness."
53. Defendants' failure to adequately warn physicians resulted in: (1) patients receiving FLQs instead of
another acceptable and adequate non-fluoroquinolone antibiotic, sufficient to treat the illness for which
patients presented to the provider; aiid (2) physicians failing to warn and instruct consumers about the risk
of long-term peripheral nervous system injuries associated with FLQs.
54. The failure of Defendants to include appropriate warnings in their products' labels as published to the
medical community also resulted in an absence of adequate wamings in patient information presented
directly to consumers, either as part of samples packages or as part of the prescription they received from
retail pharmacies. ("Levaquin Aortic Aneurysm and Peripheral Neuropathy Lawsuit ...")
6
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55. Despite Defendants' knowledge and failure to adequately warn Plaintiffs and their physicians of the
above, Defendants continued to market their FLQs as a first-line therapy for common bronchitis, sinusitis,
and other non-life-threatenitig bacterial infections--conditions for which many safer antibiotics were and
are available.
56. In January of 2014, Ayad Ali published "Peripheral neuropathy and Guillain Barre syndrome risks
associated with exposure to systemic fluoroquino lones: a pharmacovigilance analysis," wliich reemphasized
the link between fluoroquinolones and peripheral neuropathy and called for increased scrutiny ofthe risk-
benefitoffluoroquinolone prescriptions.
   57. An epidemiologic study published in the August 2014 online edition ofNeurology provided further
  quantitative support for the association between fluoroquinolone antibiotics and peripheral neuropathy. "
   The study compared 6,226 cases of peripheral neuropathy among men neuropathy (RR =1.83, 95% CI:
      1.49-2.27), with current users having the highest risk of exposure (RR = 2.07, 95% CI: 1:56-2.74).
  The study compared 6,226 cases of peripheral neuropathy among men ages 48-80 to 24,904 controls and
    determined that those on fluoroquinolones were ata statistically significant higher risk ofdeveloping
     peripheral neuropathy (RR =1.83, 95% CI: 1.49-2.27), with current users having the highest risk of
                                   exposure (RR=2.07, 95% CI: 1:56-2.74).
58. Notably, long before the publications from Ali et al. and Etminan et al., Johnson and Johnson Inc.
acknowledged that a causal relationship existed regarding FLQs and peripheral neuropathy. Specifically,
following the FDA's October 2003 request for a label change regarding FLQs and peripheral neuropathy,
the J&J Defendants conducted an internal evaluation ofthe proposed labeling change. This evaluation led
them to conclude in an internal document dated December 2003 that there were case reports "across the
quinolone class" of signs and symptoms "consistent with peripheral neuropathy." This assessment further
concluded that "onset may be rapid" and "[reports were consistent with a causal association for both
levofloxacin and ofloxacin. Some reports include positive DE challenge and/or rechallenge." The report
further acknowledged that symptoms of peripheral neuropathy "can occur in setting of other signs and
symptoms (allergy, musculoskeletal, and CNS)."
59. On November 5, 2015, the FDA held a joint meeting ofthe Antimicrobial Drugs Advisory Committee
and the Drug Safety and Risk Management Advisory Committee to discuss the safety and efficacy of
systemic fluoroquinolones in the context of three indications: acute bacterial sinusitis (ABS), acute bacterial
exacerbation of chronic bronchitis in those with chronic obstructive pulmonary disease (ABECB-COPD),
and uncomplicated urinary tract infections (UTI). The FDA asked committee members to determine whether
the benefits of FLQ therapy in these three indications justifies the associated risks of FLQ use.
60. While fluoroquinolones are currently approved for these three indications, FDA reviewers, along with
over thirty open public hearing speakers, voiced the need for stronger labels on these indications due to the
modest or absent treatment benefits ofthe drugs for the three indications, and the serious adveise events
associated with their use. These serious adverse events include tendonitis, tendon rupture, central nervous
system effects, peripheral neuropathy, myastheniagravis exacerbation, phototoxicity, hypersensitivity and
certain cardiovascular effects (i.e., QT prolongation). ("FDA Says These Antibiotics areNOT Worththe
Risk - Hawaii ...")
61. In advance ofthe advisory committee meeting, FDA reviewers released briefing documents that
indicated the potential side effects of fluoroquinolone use, including permanent peripheral neuropathy, may
outweigh the benefits provided by the medications, as patients often receive the drugs for infections that
resolve themselves or can be treated with medications that do not carry the same risks. For instance, an
evaluation of placebo-controlled trials in ABS or mild ABECB-COPD showed that a sizable proportion of
patients randomized to receive placebo recovered and thus the illnesses appeared to be self-limited for
many. Moreover, some trials failed to show any differences in outcome measures when 6. A lengthy review
of serious and sometimes permanent adverse events, including permanent peripheral neuropathy, associated
with FLQ use followed the discussion of questionable efficacy for the three indications in question. The
FDA cited specifically adverse event reporting from patients highlighting a"constellation of symptoms"
referred to as "Fluoroqu inolone-Associated Disability " (FQAD). Individuals with FQAD were defned by

1! Etminan M, BrophyJM, SamiiA.Oralf7uoroquinoloneuseandriskofperipheralneuropathy:
A pharmacoepidemiologic study. Neurology 2014; Epub2014Aug22.
" "Par•esihesia"isanabnormalsensation, typically linglnag o rprickling ("pins andneedles'), btn-ning, or•nwnbness, causedprirnarilybydamage
to peripheral nerves.
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the FDA as patients who were prescribed an oralfluoroquinolone to treat urinary tract infections,
bronchitis, or sinusitis, and who experienced disablingadverse events, lasting30 days or longer, in two of
the following bodysystems: neuromuscular, neuropsychiatric, peripheral neuropathy, senses, skin,
cardiovascular.
62. After hearing testimony from industry representatives, as well as dozens of individuals who described a
wide range of harmful effects on their health and cognitive ability from fluoroquinolone use, the panel voted
overwhelmingly that the benefits and risks for systemic fluoroquinolone drugs do not support the current
labeled indications for the treatment of ABS (unanimous), ABECB-COPD (18-2, with one abstention), or
uncomplicated urinary tract infection (20-1).
63.On May 12, 2016, the FDA issued a safety announcement advising that "the serious side effects
associated withfluoroquinolone antibacterial drugs generally outweigh the benefitsforpatients with
sinusitis, bronchitis, and uncomplicated urinary tract infections who have other treatment options. " The
FDA instructed those patients with these conditions shouldnot be treated with a fluoroquinolone if
alternative treatment options are available. (`After Science Day, Fluoroquinolone Litigation Heads Towatd
... ') Tlie May 12th announcement also cautioned that a safely review demonstrated that FLQs "are
associatedwith disabling andpotentiallypermanent serious sideeffects thatcan occur together. "The side
effects can involve the tendons, muscles, joints, nerves, and central nervoussystem. ("bnportantFDA Drug
Safety Communication Regarding... ')
64. On or around May 12, 2016, the FDA issued a safety labeling change notification to the Bayer
Defendants. Among other things, the notification directed Defendants to update their FLQ labels to provide
new safety information regarding "serious adverse reactions [that] can occur together and can be disabling
and potentially irreversible." The FDA also t•equired a revision to the boxed warning for FLQs to include
new warnings regarding peripheral neuropathy and central nervous systems effects.
65. Both the J&J and Bayer Defendants have publicly acknowledged that FLQs can cause neuropathy.
("After Science Day, Fluoroquinolone Litigation Heads Toward ...") At the FDA's joint advisory committee
meeting in November 2015, Dr. Susan Nicholson, Vice-President of safety, surveillance, and risk
management for the Johnson & Johnson Family of Companies, testified on behalf of Janssen Pharma and
the other industry partners, including the Bayer Defendants.12 Dr. Nicholson was asked the following
question by the FDA subcommittee conceming quinolones and their causal relationship to tendon ruptures,
severe arrhythmia, and neuropathy:
Q: Dr. Winterstein [FDA]: So, for the tendon piece, there is a fairly good body of literature now that looks at
  collagen tissue. And to me, that is also a plausible mechanism for neuropathy. So, my question is, number
  one, when does it have to be a unified mechanism orwhat exactly did tliat refer to? And then number two,
 does the sponsor disagree, number one, that quinolones cause tendon ruptures, that quinolones cause severe
   arrhythmia, andthen numberthree, thatquinolones cause neuropathy? ... So, I am justtryingto get my
  arms around what the issue is here. But it seems like we agree that there is a causal association with these
                                 three outcomes that we are discussing. Yes?
                                     A: Dr. Nicholson: Yes. We do agree.
In Conte v. Wyeth, Inc., 168 Cal. App. 4th 89,94 (Cal. Ct. App. 2008), the court held that under California
law "the common law duty to use due care owed by a name-brand prescription drug manufacturer when
providing product warnings extends not only to consumers of its own product, but also to tho se whose
doctors foreseeably rely on the name-brand manufacturer's product information when prescribing a
medication, even if the prescription is filled with the generic version ofthe prescribed drug." See also T.H.
v. Novartis Pharmaceuticals Corp., 245 Cal. App. 4th 589, 607-608 (Cal. Ct. App. 2016).
65. In Wyeth, Inc. v. Weeks, 159 So.3 d 649, 676 (Ala. 2014), the court held "[under Alabama Law, a brand-
name-drug company may be held liable forfraud or misrepresentation]" (by misstatement or omission),
based on statements it made in connection with the manufacturer of a brand-name prescription dn.ig, by a
plaintiff claiming physical injury caused by a generic dn.ig manufactured by a different company." The
Alabama Legislature subsequently passed legislation that was signed into law prohibiting claims by generic
consumers against brand-name manufacturers, effectively overruling the Alabama Supreme Court's ruling
in Weeks. The law took effectNovember 1, 2015, thus barring any such cause of action filed after that date.

1' As noted at lhe meetingby MelissaTokosh, global regztlatay leaderwith Janssen Researchand Development, "Ozn-pal4icipation [at this
hearing] represents a collaborative effort behveen both brandedandgeneric companies, ivith Bayer and Janssen leading th epreparation of the
backgrormd doctonents andpresentation based on datafi•om o in• products. "
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66. In Kellogg v. Wyeth, 762 F.Supp.2d 694, 709 (D.Vt. 2010), the court held "under Vermont's negligence
law it is reasonably foreseeable that a physician will rely upon a brand name manufacturer's
representations—or the absence of representationsabout the risk of side effects of its drug, when deciding
to prescribe the drug for a patient, regardless of whether the pharmacist fills the prescription with a generic
form of the drug. Vermont allows a negligence action against one who owes a duty o f care and fails to
conform to the standard of conduct required.
67. In Dolin v. Smithkline Beecham Corp., 62 F.Supp.3d 705, 720-21 (N.D. I11. 2014), the court held that
under Illinois common law, a brand-name manufacturer owes a duty of care to the generic consumer.
68. Thus, under the laws of Califomia, Alabama (before November 1, 2015), Vermont, and Illinois, the
Bayer Defendants' and J&J Defendants' duty of care in disseminating product information extends to those
patients, such as Plaintiffs, who have been injured by generic ingestion of any FLQ (e.g., Ciprofloxacin,
moxifloxacin, and/or levofloxacin) as a result of prescriptions written in reliance on Defendants' product
information for such drugs. Defendants knew or should have known that prescribing physicians would rely
upon the warnings or product labeling disseminated by the Defendants for Cipro, Avelox and/or
Levaquin in prescribing brand-name or generic Ciprofloxacin, moxifloxacin and/or levofloxacin for
patients, such as Plaintiff.

APPLICATION OF TIIE STATUTE OF LIMITATIONS

69. Plaintiff incorporates by reference all prior paragraphs of this Complaint as if fully set forth herein.
70. The running of any statute of limitations has been told by reason of Defendants' fraudulent concealm ent
Defendants, through their affirmative misrepresentations and omissions, actively concealed from Plaintiffs
and their treating physicians the true risks associated with Defendants' FLQ drugs, including the actual
incidence of FLQ-induced peripheral neuropathy, the serious, progressive, and disabling nature of FLQ-
induced peripheral neuropathy, the rapid onset of FLQ-induced peripheral neuropathy, and the irreversibility
of FLQ-induced peripheral neuropathy.
71. The time, place and substance of the Defendants' alleged fraud is set forth as follows. Between 1995 and
2002, FLQs became the most prescribed class of antibiotics to adults in the United States.13 The explosive
increase in FLQ prescriptions was a direct result of Defendants' deliberate decision to reframe FLQs from a
"big gun" antibiotic that should be reserved for serious infections to a"first choice" antibacterial that is
appropriate for a wide range of mild infections.
72. Given their close association with peripheral neuropathy, the frequent occurrence of paresthesia,
hypoesthesia, and other neuropathy symptoms among FLQ users posed a significant hurdle to Defendants'
stated goal of expandingthe use ofFLQs formild infections. If practitioners were adequately warned about
the risk of serious peripheral neuropathy, they would be much more hesitant to prescribe FLQs for the type
of routine infections that Defendants were targeting through their marketing strategies. So, Defendants
elected to conceal the true nature ofthe risk.
73. In orderto continueto trumpetthe allegedly "excellent" safety profile ofFLQs, Defendants had little
choice but to omit any discussion ofthe significant risk of paresthesia, hypoesthesia, dysesthesia, and
weakness (with their implication for the risk of peripheral neuropathy), and instead focus on what would be
perceived as more mild and acceptable side effects, such as headaches or nausea.
74. Beginning in at the late 1990s, Defendants aggressively marketed FLQs while at the same time
concealing, through misrepresentations or omissions, the risk of peripheral neuropathy. They did this by
focusing on the incidence of benign side effects, sucli as headaches or dizziness, while concealing the
equally common but far more serious symptoms of peripheral neuropathy.
75. Plaintiffs'treating physicians would have received some form ofthese marketing materials, and with
them the repeated misrepresentations and concealment regarding FLQs' safety profile and the concealment
of the risk of irreversible peripheral neuropathy and associated symptoms.
76. Despite the claims in their marketing materials, Defendants were aware that paresthesia and other
symptoms indicative of peripheral neuropathy had occurred frequently in FLQ patients. Defendants'
marketing materials deliberately omitted any mention of neuropathy type symptoms in their laundry list of

1' See Linder, J.4. et al. Fluoroquinolone prescribing in the UnitedStates: 1995 to 2002. AmJ Med. 2005 Mat;118(3):259-68 ("Fhioroquinolone
prescribing increasedthreefold in outpaGentcliraicsand emergency departments in the UnitedStatesfi-om 199510 2002. Fluoroquinolones became
the most prescr-ibed class ofantibiotics to adults in 2002.').
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side effects, even though the neuropathy symptoms occurred with similar, if not greater, frequency than the
headaches, constipation, nausea, diarrhea, insomnia, and dizziness they repeatedly mentioned.
77. Failing to disclose the high incidence of neuropathy and neuropathy-associated symptoms was not the
only way in which Defendants concealed the true risk of FLQ-induced peiipheral neuropathy. Defendants
also misrepresented the extent of the injury. They did this in at least three ways. First, they concealed the
true risk of irreversible peripheral neuropathy. Second, they concealed the fact that the irreversible
peripheral neuropathy caused by FLQs is often the result of a rapid onset of symptoms — in other words, a
patient could suffer petmanent nerve injuries after taking as few as one or two FLQ pills. Third, Defendants
misrepresented the severity ofthe injury and failed to disclose that it can be serious and disabling.
78. Defendants knew at least by the mid-1990s that FLQs could induce prolonged, irreversible peripheral
neuropathy. This knowledge came from the numerous adverse event reports Defendants received during this
period. Defendants concealed these reports from the medical community.
79. The Bayer Defendants have like other FLQs companies; adopted procedures to conceal the extent and
nature of the risk of irrevetsible neuropathy. For example, when reporting on the incidence of Avelox-
induced peripheral neuropathy in 2009, the Bayer Defendants intentionally excluded all cases that exhibited
a rapid onset of symptoms. In defense of this decision, the Bayer Defendants cited a leading textbook which
stated that drug-induced peripheral neuropathies have an onset "of a few weeks or months." The problem, of
course, was that the Bayer Defendants knew long before 2009 that, in the case of FLQ-induced neuropathy,
the time to symptom onset is veiy rapid, including after a single dose. Yet the Bayer Defendants never
disclosed this knowledge to the medical community. Thus, by excluding cases of rapid onset, the Bayer
Defendants knew they would avoid havingto report the majority of Avelox- and Cipro-induced peripheral
neuropathies. As they wrote in their 2009 report: "In the majority of reports the treatment duration is well
shorter than 8 days, in many reports the onset is within hours after a single dose. ... Thus, applying the
definitions as stated in the method-section, no cases of (poly)neuropathy could be identified, and the
association of the reported clinical symptoms with moxifloxacin was either excluded or unlikely in the final
evaluation." The low incidence of FLQ-associated irreversible peripheral neuropathy therefore became a
self-fulfilling prophecy, since Defendants' criteria for such an association excluded the very characteristic
(rapid onset) that is a hallmark ofthe association.
80. Defendants, including the Bayer Defendants specifically, have officially recognized that FLQs should
not be used as a first-line treatment for uncomplicated or minor infections, such as acute maxillary sinusitis,
acute exacerbation of chronic bronchitis, and uncomplicated urinary tract infections. The senior director of
global clinical development at Bayer Healthcare recently testified before the FDA that "Quinolones are
definitely an altemative, but n.o one is recommending them as a first line [treatment] forthe uncomplicated
cases."14 Contrary to this representation, Defendants marketed and promoted FLQs for more than a decade to
physicians, hospitals, and the medical community as a first-line treatment for uncomplicated infections,
including sinusitis, bronchitis, and urinary tract infections. All the while, Defendants concealed from the
medical community that opinion leaders, including its own personnel, acknowledged that the product was
inappropriate for such use.
81. Defendants were obligated under federal regulations to revise the labeling as soon as there was
reasonable evidence of an association of a serious hazard with the drug; a causal relationship need not have
been proved. 21 C.F.R. 201.57(e). Despite the information known to Defendants discussed above,
Defendants deliberately failed to update their FLQ labels to reflect the rapid onset of symptoms or the risk
of developing permanent peripheral neuropathy orthe severity of nerve damage orthe higher incidence of
neuropathy symptoms. Defendants knew, priorto Plaintiffs use ofthe FLQ drugs, that central nervous
system-related effects were one of the most common adverse effects of quinolones and that the onset of
events like peripheral neuropathy could be rapid and irreversible. Despite this information, Defendants
deliberately failed to update their FLQ labels, marketing materials, or educational and promotional
documents and statements to reflect this important safety information or to modify their marketing materials
and mantras.
82. In failing to update their labels and marketing materials, Defendants intended that that the
misinformation contained in the label would be relied upon by Plaintiffs and their prescribing physicians,
which it was. As a direct result of Plaintiffs and their prescribing physician's reliance on the false
information contained within the FLQ labels, Plaintiffs were prescribed and took Defendants' FLQs and

" Testimony at the FDA Subcommittee Advisoyy Hern•ing, Nov. 5, 2015.
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 developed permanent peripheral neuropathy along with plaintiffs' other injuries.
 83. Accordingly, the discovery rule should be applied to toll the running ofthe statute of limitations until
 Plaintiffs knew, or through reasonable care and diligence should have known, oftheir claims against
 Defendants, and in any event such tolling sliould continue until at least the date of FDA's disclosure of risk
 information in August 2013.
84. Plaintiff did not discover, and through the exercise of reasonable care and due diligence should not and
 could not have discovered, their illnesses and injuries or their relationship to the FLQ drugs until after
 August 2013 and/or within the Statute of Limitations from date of painlinjury (regardless of prescription
date). Plaintiffs' suit is filed well within the applicable statute of limitations period underappropriate
application oftheir state's "discovery rule."
85. In the alternative, the facts of Plaintiffs' claims made it impossible for them to discover the true nature
of their injuries and/or causes of action within the applicable limitations period. Defendants'
 misrepresentations and omissions that constituted active concealment regarding the true nature of the risks
associated with their FLQ drugs prevented Plaintiffs from discovering the wrongful acts on which their
causes of action are based. Prior to August 15, 2013, as well as the date of July 4, 2018, when physician
ordered the prescription for Cipro. Plaintiffs' treatirig physicians denied, ignored or were unaware of any
possibility that Plaintiffs' injuries were causally associated with FLQs. This was the result of Defendants'
omissions from and misrepresentations to the medical community and to the public. Indeed, in many
instances, Plaintiffs' treating physicians stated that the pennanent nature of Plaintiffs' injuries meant that
they could not have been caused by FLQs, since Defendants had falsely promoted their FLQs resulting in
physicians holdingthe mistakeri beliefthatthe nature of injuries reported by Plaintiffs—irreversible
peripheral neuropathy--could not be caused by FLQs. As a result, Plaintiffs were told their injuries were
due to some other potential cause(s), or that the cause oftheir injuries was not knowable or "idiopathic."
Thus, while Plaintiffs acted
diligently to determine both the nature and the cause of their injuries, their efforts were thwarted by
Defendants' fraudulent concealment. Plaintiffs filed this lawsuit within the applicable limitations period of
the date they knew or through the exercise of reasonable care and due diligence should have known of their
claim.
86. Unlike ordinary consumers of prescription drug products, prescription drug manufacturers are held to the
standard of experts on their products. And unlike ordinary consumers, prescription drug manufacturers are
obligated to keep abreast of scientific knowledge, discoveries, advances, and research in the field related to
their products and are presumed to know what is imparted thereby. Conversely, ordinary consumers (like
Plaintiffs) are not presumed, as are dnzg manufacturers, to have superior or continuing know] edge of
medical and scientific evidence concerning the drugs they take, particularly with respect to drugs they have
previously ingested. Plaintiffs, as ordinary consumers, had no reason to suspect that their use of Defendants'
FLQs might have caused or contributed to their development of permanent peripheral neuropathy until; at a
miniinum after July 4, 2018, at the earliest (the first date of taking the medication and being prescribed it)
because of Defendants' fraudulent concealment ofthe risk as noted above. In addition, physical symptoms
alone, witliout knowing or being able to discern the cause, is insufficient to start the statute of limitations
clock running. This is certainly true for the Plaintiff whose symptoms did not begin to develop until months
after their last use of the drug. It also applies to the Plaintiff who suffered symptoms for yeats after being
prescribed FLQs but who were misdiagnosed and only later came to be correctly diagnosed with permanent
peripheral neuropathy; or who were told by their treating physician(s) that their peripheral neuropathy could
not be related to their FLQ usage; or who, after consulting their physicians, were not told that FLQ usage
was not the cause of their injuries.
87. Plaintiff could not have discovered the full extent oftheir injuries and their relationship to the FLQ
drugs until potentially after the prescription was written.
88. Indeed, Defendants admitted in internal communications that the warningthey provided to physicians
and patients prior to August 2013 did not include the risk of developing irreversible peripheral neuropathy.
The lack of awareness concerning the causal relationship between FLQs, and irreversible peripheral
neuropathy was not the result of silence or passive concealment. Defendants, through their marketing
statements and labeling, made affirmative representations and engaged in deliberate omissions to the
medical community and patients, both of which suggested, both expressly and impliedly, that symptoms of
neuropathy were reversible, thereby excluding suspicion of any drug-induced relationsliip or cause and
preventing subsequent discovery.
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 89. The mere publication ofthe risk information on the FDA's website in August 2013 did not provide the
 public or the medical community with information sufftcient to arouse suspicion of a relationship between
 FLQ use and permanent peripheral neuropathy. There was no widespread media coverage, and Defendaiits
 failed to provide any additional substantive disclosure to the public about the label change or risk
 information, whether in the form of website communication, newspaper, or television advertisements.
Plaintiffs' duty to investigate does not begin to run until Plaintiffs have a reason to investigate. Defendants'
affirmative representations in their FLQ labels prior to August 2013 foreclosed any such duty or suspicion
 because, according to the labeling, FLQ-induced neuropathies were reversible once the drug was
discontinued. Accordingly, it was only well after August 2013 that Plaintiffs may be said to have had a
 reason to investigate the cause of their permanent peripheral neuropathy. In the alternative, a diligent
 investigation would not have uncovered FLQ use as the cause of Plaintiffs' injuries, forthe reasons
expressed above.
90. Even in the absence of the application of a"discovery rule," Plaintiff has timely filed their claims from
their dates of injury which was in late October 2018 (first doctor appointment regaizling pain was on
October 24, 2018. Plaintiffs further aver that before addressing when an injury arises for statute of
 limitations purposes, it is necessary to first identify the actionable injury. Once the actionable injury is
 identified, the detennination will have to be made as to when it occurred and the party asserting the
limitations bar bears the burden ofprovingthis within a reasonable degree ofinedical certainty, which will
be a case-by-case determination.
91. As a result of Defendants' actions, Plaintiff and her treating physicians were unaware, and could not
know or have learned through reasonable diligence that PlaintifPhad been exposed to the risks alleged
herein and that those risks were the direct and proximate result of Defendants' acts and omissions.
92. Therefore, Defendants are estopped from relying on any statute of limitations because oftheir fraudulent
concealment of the true character, quality, and nature oftheir FLQs. Defendants were undera duty to
disclose the true character, quality, and nature oftheir FLQs becausethis was non-public information over
which Defendants had and continue to have exclusive control, and because Defendants knew that this
information was not available to the Plaintiffs, medical providers and/or to their facilities. Defendants are
estopped from relying on any statute of limitations because of their intentional concealment of these facts.
("BREAKING NEWS: Jury Slams Monsanto in 2nd Roundup Cancer Trial")
93. Further, Plaintiff had no knowledge that Defendants were engaged in the wrongdoing alleged herein, and
because ofthe fraudulent acts of concealment of wrongdoing by Defendants, Plaintiff could not have
discovered the wrongdoing at any time prior. ("3/22/2017 4:39PM 2017-L-003009")
94. The running of any statute of limitations has been tolled by reason of Defendants' fraudulent conduct, as
described in the preceding paragraphs. ("UNITED STATES DISTRICT COURT DISTRICT OF NEW
JERSEY") Defendants, through their affirmative misrepresentations and omissions, actively concealed from
Plaintiff and Plaintiffs prescribing physicians and healthcare providers the true and significant risks
associated with FLQ use.
95. As a result of Defendants' fraudulent actions, Plaintiff and Plaintiffs' prescribing physicians and
healthcare providers were unaware and could not have known or learned through reasonable diligence that
Plaintiffs had been exposed to the risks alleged herein and that those risks were the direct and proximate
result of Defendants' acts, omissions, and misrepresentations. Plaintiffs have been kept ignorant of vital
information essential to the pursuit ofthese claims, without any fault or lack of diligence on their part.
("Badonivac et al v. Wyndham Destinations, Inc. et al: Complaint") Defendants actively concealed from
Plaintiff and/or Plaintiffs' physicians the true risks associated with the use of their FLQ drugs. Defendants'
acts and omissions included failing to disclose the truth about the safety and efficacy of their FLQ drugs to
Plaintiffs' physicians and/orPlaintiff and concealing through misrepresentation the safety and efficacy of
their FLQ products. Plaintiff and Plaintiffs' physicians relied on Defendants to disseminate truthful and
accurate safety and efficacy information about their drugs and warn ofthe side effects complained of herein.
96. Although some aspect of the injury may have been known to Plaintiff and Plaintiffs' physicians, due to
Defendants' intentional concealment, an essential fact to bring theic- cause of action was unknown. Plaintiffs,
lacking the reasonable means to discover vital information, relied on the concealment of essential facts that
Defendants, having actual knowledge of material facts, actively and deliberately concealed with the intent to
prevent discovery thereof by others, including the Plaintiffs. Because of Defendants' conduct, Plaintiff was
without knowledge of those facts and without means to discover them within the period of the statute of
limitations, thereby relying to their detriment on Defendants' conduct.
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97. As such, the running of any statute of limitations has been tolled by reason of Defendants' affirmative
misrepresentations and omissions.
98. Furthermore, Defendants are estopped from relying on any statute of limitations because oftheir
fraudulent concealment of the defective nature of FLQs. Defendants, always relevant hereto, were under a
duty to disclose the true character, quality, and nature of FLQs because this was non-public infotmation over
which the Defendants had and continue to have exclusive control, and because Defendants knew this
information was not available to the Plaintiff or Plaintiffs' physicians. Tn addition, Defendants are estopped
from relying on any statute of limitations because of their conceal ment of these facts.
("Duff_et_al_v_Monsanto_Company_et_al_candce-21-05477_0001 ...")
99. Also, the economics ofthis fraud should be considered. Defendants had the ability to and did spend
enormous amounts of money in furtherance of their purpose of marketing, promoting and/or distributing a
profitable drug, often as a front-line therapy for minor infections, notwithstanding the known or known
risks. Plaintiffs and medical professionals could not have afforded and could not have conducted studies to
determine the nature, extent, and identity of related health risks, and were forced to rely on only the
Defendants' representations. Accordingly, Defendants are precluded by the discoveiy rule, the doctrine of
fraudulent concealment and/or the doctrine of equitable estoppel from relying upon any statute of
limitations. ("Duff_et_al v_Monsanto_Company_et al_candce-21-05477_0001 ...")
100. Had Plaintiffs' physicians known of the true risk profile of Defendants' products, the physicians would
not have prescribed the products to the Plaintiff. Had Plaintiffs' physicians known of the true risk profile of
Defendants' products, the physicians would have transferred this information to the Plaintiff. Had the
Plaintiff known of the true risk profile of Defendants' products, Plaintiff would have declined to use those
products. The physicians would have honored Plaintiffs' wishes by failing to prescribe the product.
101. Neither the Plaintiff nor theirphysicians were aware of the true risk profile of Defendants' products
before Plaintiff was injured. Plaintiffs learned that Defendants' products might be responsible for their
injuries within the proscriptive periods prescribed by the state law governing Plaintiffs' claims.
102. For each Count hereinafter alleged and averred, the above and following pai•agraphs should be
considered re-alleged as iffully rewritten.

COUNTI
[Strict Liability]

103. Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full. ("IN THE UNITED
STATES DISTRICT COURT FOR THE DISTRICT OF ...")
104. The FLQ drugs manufactured, marketed, supplied and/or distributed by Defendants were defective at
the time of manufacture, development, production, testing, inspection, endoisement, prescription, sale and
distribution in those warnings, instructions and directions accompanying such labels failed to warn ofthe
dangerous risks they posed, includingthe risk of developing irreversible peripheral neuropathy.
105. At all times alleged lierein, the FLQs manufactured, marketed, supplied, and/or distributed by
Defendants were defective, and Defendants knew that their FLQ drugs were to be used by consuiners
without inspection for defects. Moreover, Plaintiff, their prescribing physician, and their healthcare
providers neither knew nor had reason to know at the time of Plaintiffs' use of the drugs of the defects.
"Ordinary consumers would not have recognized the potential risks for which Defendants failed to include
the appropriate warnings." ("Linda McSherry Blog: Mentor Breast Implant Lawsuit Filed ...")
106. At all times alleged herein, the Defendants' FLQs were prescribed to and used by Plaintiffas intended
by Defendants and in a manner foreseeable to Defendants and
107. The design of Defendants' FLQ drugs were defective in that the risks associated with using the drugs
as a first-line therapy for infections that did not dictate the use of an FLQ outweighed any benefits of their
design. Any benefits associated with the use of the FLQs in such situations were either minor or nonexistent
and could have been obtained by the use of other, alternative treatments and products that could equally or
more effectively reach comparable results but without the increased risk of developing irreversible
peripheral neuropathy.
108. The defect in design existed wiien the products left Defendants' possession.
109. At the time FLQs left the control of the Defendants, they knew orshould have known of the risks
associated with ingesting their drug.
1 10. As a result ofthe defective condition of Defendants' FLQs, Plaintiff suffered the injuries and damages
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alleged herein.

WHEREFORE, Plaintiff respectfully request that this Court enter judgment in their favor for compensatory
and punitive damages, together with interest, costs herein incurred, attorneys' fees, and all such other and
further relief as this Court deems just and proper.

COUNTII
[Product L,iability — Failure to Warn]

 I 11. Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full. ("IN THE UNITED
STATES DISTRICT COURT FOR THE DISTRICT OF ...")
112. Defendants have engaged in the business of selling, distributing, supplying, manufacturing, marketing,
and/or promoting their FLQ drugs and, through that conduct, have knowingly and intentionally placed such
drugs into the stream of commerce with full knowledge that their products reach consumers such as
Plaintiffs who ingested them.
113. Defendants did in fact sell, distribute, supply, manufacture, and/or promote their FLQ drugs to Plaintiff
and to their prescribing physicians. Additionally, Defendants expected the drugs they were selli ng,
distributing, supplying, manufacturing, and/or promoting to reach — and they did in fact reach — prescribing
physicians and consumers, including Plaintiff and her prescribing physicians, without any substantial
change in the condition from when Defendants initially distributed them.
114. At all times herein mentioned, Defendants' FLQ drugs were defective and unsafe in manufacture such
that they were unreasonably dangerous to the user and were so at the time they were distributed by
Defendants and ingested by Plaintiff. The defective condition of such drugs was due in part to the fact that
they were not accompanied by proper warnings regarding the possible side effect of developing long-term
and potentially irreversible peripheral neuropathy because of their use.
115. This defect caused serious injuries to Plaintiff, who used Defendants' FLQs in their intended and
foreseeable manner.
116. At all times herein mentioned, Defendants had a duty to intelligently design, manufacture, compound,
test, inspect, package, label, distribute, market, examine, maintain supply, provide proper warnings, and take
such steps to assure that their products did not cause users to suffer from unreasonable and dangerous side
effects. ("IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ...")
117. Defendants so negligently and recklessly labeled, distributed, and promoted the previously mentioned
products that they were dangerous and unsafe for the use and purpose forwhich they were intended.
118. Defendants negligently and recklessly failed to warn ofthe nature and scope of the side effects
associated with their FLQ products, namely irreversible peripheral neuropathy.
119. Defendants were aware of the probable consequences of the previously mentioned conduct. Even
though the Defendants knew or should have known that their FLQ drugs caused serious injuries, they failed
to exercise reasonable care to wam ofthe dangerous side effect ofdeveloping irreversible peripheral
neuropathy from their use, even though this side effect was known or scientifically knowable at the time of
their initial marketing and distribution. Defendants willfully and deliberately failed to avoid the
consequences associated with their failure to warn, and in doing so, Defendants acted with a conscious
disregard for the safety of Plaintiff. ("IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF ...")
120. Plaintiffs could not have discovered any defect in the subject products through the exercise of
reasonable care.
12l . Defendants, as the manufacturers and/or distributors ofthe FLQ products, are held to the level of
knowledge of experts in the field.
122. Plaintiff relied upon the skill, superior knowledge, and judgment of Defendants and Had Defendants
properly disclosed the risks associated with their FLQ drugs, Plaintiff would have avoided the risk of
irreversible peripheral neuropathy by not using the drugs.
123. As a direct and proximate result of the carelessness, negligence, recklessness, and gross negligence of
Defendants alleged herein, and in such other ways to be later shown, the subject product caused Plaintiff to
sustain injuries as herein alleged.

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her
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                                                                                                :




"Favor for compensatory and punitive damages, together with interest, costs herein incun•ed, attomeys' fees,
and all such other and further relief as this Court deems just and proper." ("IN THE UNITED STATES
DISTRICT COURT FOR THE DISTRICT OF ...")

COUNT IIII
[Negligence]

124. Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full. ("IN THE UNiTED
STATES DISTRICT COURT FOR THE DISTRICT OF ...")
125. At all times inaterial hereto, Defendants had a duty to exercise reasonable careto consumers, including
Plaintiffs herein, in the design, development, manufacture, testing, inspection, packaging, promotion,
marketing, distribution, labeling, and/or sale of the FLQ drugs.
126. Defendants breached their duty of reasonable care to Plaintiffs in that they negligently promoted,
marketed, distributed, and/or labeled the drugs.
127. Plaintiffs' injuries and damages alleged herein were and are the direct and proximate result of the
carelessness and negligence of Defendants including, but not limited to, one or more of the following
particulars: In the design, development, research, manufacture, testing, packaging, promotion, marketing,
sale, and/or distribution ofDefendants' FLQ drugs
128. In failing to adequately warn or instruct, users of the subject product, including Plaintiffs herein, of the
dangerous and defective characteristics of Defendants' FLQ drugs
129. In the design, development, implementation, administration, supervision, and/or monitoring of clinical
trials for Defendants' FLQ drugs.
130. In promoting Defendants' FLQ drugs in an overly aggressive, deceitful, and fraudulent manner,
including as a first-line therapy to treat infections forwhich they were not required despite evidence as to
the drug's defective and dangerous characteristics due to its propensity to cause irreversible periphetal
neuropathy.
131. In representing that Defendants' FLQ drugs were safe for their intended use when, in fact, the products
were unsafe for their intended use.
132. In failingto perform appropriate pre-market testing of Defendants' FLQ drugs.
133. In failing to perform appropriate post-market surveillance of
Defendants' FLQ drugs.
134. In failing to conduct sufficient testing on Defendants' FLQ drugs which, if properly performed, would
have shown that it had the serious side effect of causing irreversible peripheral neuropathy.
135. In failing to adequately warn Plaintiff and her healthcare providers that the use of Defendants' FLQ
drugs carried a risk of developing irreversible peripheral neuropathy.
136. In fact, prior to August 2013, Defendants were aware that their FLQ labels did not wani about
irreversible peripheral neuropathy.
137. In failingto provide adequate post-marketingwarnings or instructions afterDefendants knew or should
have known of the significant risk of irreversible peripheral neuropathy associated with the use of their FLQ
drugs.
138. In failing to adequately and timely inform Plaintiffs and the healthcare industry of the risk of serious
personal injury, namely irreversibleperipheral neuropathy, from FLQ ingestion as described herein.
139. Defendants knew or should have known that consumers, such as the Plaintiff would foreseeab ly suffer
injury because of Defendants' failure to exercise reasonable and ordinary care.
140. As a direct and proximate result of Defendants' carelessness and negligence, Plaintiff suffered severe
and permanent physical and emotional injuries, including, but not limited to, irreversible peripheral
neuropathy. Plaintiffs have endured pain and suffering, physical impairment, suffered economic loss,
including incurring significwit expenses for medical care and treatment, and will continue to incur such
expenses in the future. "Plaintiffseeks actual and punitive damages from Defendants as alleged herein."
("IN THE UNITED STATES DISTRICT COURT FOR THE DiSTRICT OF ...")
WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their favor for compensatory
and punitive datnages, togetlier with interest, costs herein incurred, attorneys' fees, and all such other and
further relief as this Court deems just and proper.


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COUNT IV
[Breach of Fxpress Warranty]

141. Plaintiffs re-allege all prior paragraphs ofthe Complaint as if set out liere in full.
142. Defendants' FLQs did not conform to their express representations because their drugs were not safe
and had an increased risk of serious side effects, including irreversible peripheral neuropathy, whether taken
individually or in conjunction with othertherapies.
143. As a direct and proximate result ofthis wrongful conduct, Plaintiff was injured as described above.

WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their favor for compensatory
and punitive damages, togetlier witli interest, costs lierein incurred, attorneys' fees, and all such other and
further relief as this Court deems just and proper.

COUNT V
[Breach of Implied Warranty]

144. Plaintiffs re-allege all prior paragraphs of the Complaint as if set out here in full.
145. At all times mentioned herein, Defendants manufactured, compounded, packaged, distributed,
recommended, merchandised, advertised, promoted, supplied, and/or sold FLQ drugs (including Cipro,
Avelox and Levaquin), and before such drugs were prescribed to Plaintiffs, Defendants impliedly warranted
to Plaintiffs that these drugs were of inerchantable quality and safe and fit for the use for which they were
intended.
146. Plaintiffs, individually and through their prescribing physicians, relied upon the skill, superior
knowledge, and judgment of Defendants.
147. Plaintiffs were prescribed, purchased, and used the subject products for their intended purpose.
148. Due to Defendants' wrongful conduct as alleged herein, Plaintiffs could not have known about the
nature of the risks and side effects associated with the subject products until after they used them.
149. Contrary to the implied warranty for the subject products, Defendants' FLQs are not of inerchantable
quality, and they were neither safe nor fit for their intended uses and purposes, as alleged herein.
150. As a direct and proximate result of Defendants' breach of implied warranty, Plaintiffs suffered severe
and permanent physical and emotional injuries, including, but not limited to, irreversible peripheral
neuropathy. Plaintiffs have endured pain and suffering, suffered economic loss, including incurring
significant expenses for medical care and treatment, and will continue to incur such expenses in the future.
("UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF LOUISIANA ...") Plaintiffs seek actual
and punitive damages from Defendants as alleged herein.

WHEREFORB, Plaintiffs respectfully request that this Court enter judgment in their favor for compensatory
and punitive damages, together witli interest, costs herein incurred, attorneys' fees, and all such other and
further relief as this Court deems just and proper.

COUNT VI
Fra ud

151. Plaintiffs re-allege all prior paragraphs ofthe Complaint as if set out here in full.
152. Defendants, having undertaken to prepare, design, research, develop, manufacture, inspect, label,
market, proinote, and sell their FLQ drugs, owed a duty to provide accurate and complete infom►ation
regardingthese drugs.
153. Defendants' advertising, marketing, and educational programs, by containing affirmative
misrepresentations and omissions, falsely and deceptively sought to create the image and impression that tjie
use of FLQ drugs were safe for human use, had no unacceptable side effects, and would not interfere with
daily life.
154. Defendants did not properly study nor report accurately the results of their studies in terms of risks and
benefits of its FLQ drugs. For instance, Defendants failed to investigate or initiate any studies or testing
following the safety signal generated by Karlman, et al. in 1988, wherein the study determined that an
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adverse event of peripheral paresthesia was "probably related" to Ciprolloxacin treatment.
155. Defendants purposefully concealed, failed to disclose, misstated, downplayed, and understated the
health hazards and risks associated with the use oftheir FLQs. At all times, Defendants knew tliat what they
were publishing or having published was inaccurate and that this inforrnation would mislead the membets of
the medical and scientific conununities who were studying, or more importantly, prescribing FLQ drugs.
156. The BayerDefendants were also actively engaged in fraudulently and intentionally polluted the
scientific literature related to safety and efficacy oftheir FLQ drugs. The Bayer Defendants did this
primarily through selected Bayer physicians and other paid medical consultants and Key Opinion Leaders
("KOLs"}—namely Peter Ball, Glenn Tillotson,'SLionel Mandell, B A. Lipsky, H. Lode, Ralf Stahimann,
and Robert Owens—who regularly touted benefits ofthese drugs while concealing, misstating, and
downplaying the known adverse and serious health effects.16 A sample of such statements include:
         "The most comnzon advet•se effects of the fluoroquinolones involve the gastrointestinal
         tract, skin and CNS, and are mainly mild and reversible. "("MEDLINEAbstracts: Safety
        Profile ofthe Fluoroquinolones') Ball, P., Mandell, L., Niki, Y., Tillotson, G. Comparative
         tolerability ofthe newerfluoroqztinolone antibacterial. ("Elective bone marrow
         transplantation in a child witlz X... ') DI•ug Safe. 1999; 21:407-421.

157. In fact, when the first major epiderniological study suggesting the permanency of peripheral neuropathy
associated with FLQ use was published by Cohen (2001,) in the Annals of Pharmacotherapy, Glenn
Tillotson, Bayer's director and the co-developer of Cipro and Avelox—quickly sought to downplay the
significance of Cohen's findings."It is not coincidental that the publication dates of the industry-driven
articles cited above correspond to the timeframe when FLQs became the most commonly prescribed class of
antibiotics to adults in the United States.'$

15 In 2000, Glenn Tillotson ivas 1he director ofinternatiarTal scientific r•elationsat Bayer
Coiporationandco-developerofCiproandAveloxAccordingtooneofhisonlinebiographies: "Afterdaininginn:edicalmicrobiologvand
infectious diseases in the UnitedKingdon: he subsequenllyspent 13years at BayerAG in the UK, US andGermany ivh ere he ivas instrumental in
thedevelopmentofciprofloxacinandmoxifloxacinasivellasotherdrugsinthe BayerAGporlfolio."See
htlP:%?antibiotics. omicsei•orm. coni/ocmQ015/Qleiui-.s-tillotson-.seniorscientillc-odvisor-oFonlinrer-Uharnraceuticals-inc-usa.



            `A review of37 published clinical tt•ials in more than 3, 500 patients, as well as data
           obtainedfrom Bayer Corporation, revealed that Ciprofloxncin petformed as well as or
           better than the standard comparison drugs. ... The clinical efficacy of these [FLQ]
           compounds has lar•gely been demonstrated to be equivalent to that of cominonly prescribed
           agents. "Ball, P., Chodosh, S., Grossman, R., Tillotson, G., Wilson, R. Causes,
           Epidemiology, and Treatment of Bronchial Infections, Infect Med..2000; 17(3).
           "The fluoroquinolone group has made a major contribution to the care of infected patients for over
           15 years. Recent problems with idiosyncratic, unexpected, and serious adverse reactions have
           affected a small number of patients and, whilst leading to the loss of the individual agents
           concerned, should not raise concerns about the class as a whole without scientific foundation. ...
           After treatment of almost 20 million patients with these newer agents, their window of opportunity
           appears unlikely to be cut short by untimely reports of significant adverse reactions." Ball, P.
           Adverse drug reactions: implications for the development of fluoroquinolones. Journal of
           Antimicrobial Chemotherapy (2003) 51, Suppl. Sl, 2127.


           17 Tillotson GS. Comment: peripheral neuropathy syndromeand fluoroquinolones. Ann I'harmacother.2001 Dec;35(12):1673-4.
           18 See Linder, JA. et al., Flu oroquinoloneprescribing in the United States: 1995 to 2002. Am J Med. 2005 Mar;l 18(3)259-68
           ("Fluoroquinolone prescribing increased threefold in outpatient clinics and emergency departments in the United Stales from
           1995 to 2002. Fluoroquinolones becamethe mostprescribedclassofantibioticstoadults in 2002.'). 18 See, e.g.,Tillolson, G.S.,
           Rybak, J. New milestones achieved in fluoroquinolone safety. Pharmacotherapy. 2001; 21:358-360; Tillotson, G.S., Dall, Y.
           Fluoroquinolone safety profiles—a review. in: Today's Therapeutic Trends. 1. 3rd ed. Communications Media for Education
           Inc; 2003:419-435. "Ciprofloxacin is well tolerated; theincidence ofadverse evtmts is low and serious adverse events arerare."
           E3all, P. Safety ofthe new fluoroquinolones compared with Ciprofloxacin. J Chemother. 2000; 12:8-11.



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    158. Thus, Defendants, through the publication of inedical literature, deceived potential users and
    prescribers ofFLQ drugs by relaying only allegedly positive information, while concealing, misstating, and
    downplaying the known adverse and serious health effects, including permanent peripheral neuropathy.
    138. Defendants similarly used promotional practices to deceive potential users and prescribers of FLQ
    drugs by relaying only allegedly positive information, while concealing, misstating, and downplaying the
    known adverse and serious health effects, including permanent peripheral neuropatlly.
    139. Defendants also falsely and deceptively kept relevant information from potential FLQ users and
    minimized prescriber concerns regarding the safety and efficacy of FLQs. In fact, when the first major
    epidemiological study suggesting the pemianency of peripheral neuropathy associated with FLQ use was
    published by Cohen (2001) in the Annals of Pharmacotherapy, Glenn Tillotson, Bayer's directorand the co-
    developer of Cipro and Avelox--quickly sought to downplay the significance of Cohen's findings.'1 It is
    not coincidental that the publication dates of the industry-driven articles cited above correspond to the
    timeframe when FLQs became the most comrnonly prescribed class of antibiotics to adults in the United
    States.20                                     .,
    141. Thus, Defendants, through the publication of inedical literature, deceived potential users and
    prescribers of FLQ drugs by relaying only, allegedly positive information, while concealing, misstating, and
    downplaying the known adverse and serious liealth effects, including pei-manent periphei•al neuropathy.
    142. Defendants similarly used promotional practices to deceivepotential users andprescribers ofFLQ
    drugs by relaying only allegedly positive information, while concealing, misstating, and downplayingthe
    known adverse and serious health effects, including permanent peripheral neuropathy.
;.: 143. Defendants also falsely and deceptivel.y kept relevant infomlation from potential FLQ users and
    minimized prescriber concerns regarding the,safety and efficacy of FLQs. For instance, despite learning as
{; early as 1988.(Karlman, et al.) that there was reasonable evidence of an association of a serious hazard with
    its FLQs, Defendants intentionally withheld this information from physicians and patients until September
    2004, when the FLQ labeling was finally changed,to reflect any risk of developing neuropathy. Even then,
    however, Defendants sought to minimize the frequency and permanenby of th ese serious events by
    indicating that they were "rare" and in any event reversible. Defendants knew these labeling statements were
    false and misleading because they knew as early as the 1990s that central nervous system-related effects
    were more c'oinmon with quinolones than with other antimicrobial classes of drugs and that the onset of
    events like peripheral neuropathy could be rapid and irreversible. Moreover, as noted above, J&J
    specifically knew that the label's claim that peripheral neuropathy was "rare" was false because they leamed
    in the 1990s through their own post marketing review that "paresthesia" (a peiipheral nerve injuiy) was one
    of the three "most frequently reported AEs".'iri the U.S. and developing neuropatlly. Even then, however,
    Defendants sought to minimize the frequency and permanency ofthese seriorLs events by indicating that
    they were "rare" and in any event reversible. Defendants knew these labeling statements were false and
    misleading because they knew as early as the 1990s that central nervous system-related effects were more
    common with quinolones than with other antimicrobial classes- of d'rugs and that the onset of events like
    peripheral neuropathy could be rapid and irreversible.
    144. The scientific and medical communities were misled as to the true nature ofthe risk and benefits ofthe
    Defendants' FLQ drugs in particular and in general as to the treatment needs and options for patients in need
    of antibiotic therapy.                                  •
    145. It was not until the FLQ label change in August 2013 regarding the rapid onset and potentially
    permanent nature of neuropathie"s that the truth began to be available in the scientific community. Even then,
    however, physicians had been so conditioned by the false science published a►id/or funded for years by
    Defendants. It was difficultfor many of those physicians to accept the truth about the risks and lack of
    beiiefits associated with these FLQ drugs.
    146.This realization, that FLQ drugs have for years been overprescribed, which is supported by independent
    studies,'-' has once again protnpted the FDA to act. In November 2015, an FDA subcommittee advisory



  " Tillotson GS. Conunent: peripheral new-opathy syndromeandfhtoroquinolones. Ann Pharmacother. 200/ Dec;35(12):1673 4.
  '0 See Linder, JA. et al., Fluoroqu8rolone prescribing in the United States: 1995 to 2002. Am JMed. 2005 Mar;! /8(3):259-68 ("Fluaroqatinolone
  prescribing increased threefold in oulpatient clii:fcs and enrergency departments tn the Unfled Statesfi-om 199510 2002. Fluoroquinolwies became
  the niost prescribed class oJantibiotics to ad:ilts in 2002.').
  '1 See Lautenbach E, LarosaLA, KasbekarN, Peng HP, ManigliaRJ, Fishman NO.

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 panel was convened wherein panel members noted that FLQ drugs are overprescribed for common
 infections when other treatments would work as well with less risk. The advisory panel called on the FDA q Z
strengthen labeling warnings and clarify when FLQ drugs should—and should not— be used.
147. Defendants falsely and deceptively misrepresented material facts regardingthe safety and effectiveness
of FLQ drugs and fraudulently, intentionally, and/ornegligently concealed material infonnation, including
adverse information, regarding the safety and effectiveness of their products, including by concealing the
following information:
148. That there was evidence of peripheral paresthesia associated with FLQ therapy as early as 1988.
149.That there was evidence demonstrating that FLQs increase the risk of irreversible peripheral neuropathy
as early as 1996.
150. Thatthe FLQ drugs were not fully and adequately tested by Defendants.
and/or their predecessor for the risk of developing irreversible peripheral neuropathy.
151. The severity, frequency, rapid onset, and potentially disabling nature of peripheral neuropathy caused
by the FLQ drugs.
152. The wide range of injuries caused by FLQ drugs to multiple body systems (e.g., musculoskeletal,
neuropsychiatric, peripheral nervous system, senses like vision or hearing, skin, and cardiovascular); and
That FLQs should not be used as a first-line therapy to treat infections for which they are not required.
153. The misrepresentations and/or active concealments were perpetuated directly and/or indirectly by
Defendants. Moreover, because of these efforts it was accepted by the medical and scientific communities
that these FLQ drugs had a certain risk benefit profile that was shown to be completely false by independent
studies, case series, and individual AE reports (including those contained in the FDA AERS).
154. Defendants were in possession of evidence demonstrating that the FLQ drugs caused serious and
sometimes debilitating side effects, including permanent peripheral neuropathies. Nevertheless, Defendants
continued to market such products by providing false and misleading information regarding its safety and
efficacy to Plaintiffs and Plaintiffs' treating physicians.
155. Defendants knew or should have known that these representations were false, and they made the
representations with the intent or purpose of deceiving Plaintiffs, their prescribing physicians, and the
healthcare industry.
156. Defendants made these false representations with the intent or purpose that Plaintiffs, their prescribing
physicians, and the healthcare industry would rely on them, leading to the widespread use of FLQs by
Plaintiffs as well as the public.
157. At all times herein mentioned, neither Plaintiffs nor their physicians were aware of the falsity or
incompleteness of the statements being made by Defendants and believed them to be true.
("SALVO_v_PERRIGO_CO. PLC_et_al — njdce-21-15025_0001.O.pdf') Hadthey been awareofthese
facts, Plaintiffs' physicians would not have prescribed, and Plaintiffs would not have taken these FLQ
drugs.
158. Plaintiffs, their prescribing physicians, and the healthcare industry justifiably relied on and/or were
induced by Defendants' misrepresentations and/or active concealment and relied on the absence of
information regarding the dangers of FLQs that Defendants did suppress, conceal, or fail to disclose to
Plaintiffs' detriment. Plaintiffs justifiably relied, directly or indirectly, on Defendants' misrepresentations
and/or active concealment regarding the true dangers of FLQs. Based on the nature of the physician-patient
relationship, Defendants had reason to expect that Plaintiffs would indirectly rely on Defendants'
misrepresentations and/or active concealment.
159. As a result of the concealment and/or suppression of the material facts set forth above, Plaintiffs
ingested the Defendants' FLQ drugs and suffered injuries as set forth herein.


Fluoroqutnolone utilization in the emergency departments ofacademic mediaal centeis: prevalence ofriskfactorsfor inappropriate use. Arch lntem

Med. 2003;!63(S):601-605. '! See Lautenbach E, LarosaLA, KasbekarN, Peng HP, Maniglia RJ, FislnnanNO. ("Fl:roroqrtinolone Utrlrsation bi tbe
Emeigency DeparFirrents... )"Fluoroquinolone utilization in the emet•gency departments ofacademrc medical centers:




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 WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in their favor for compensa
                                                                                                            tory
 and punitive damages, together with interest, costs herein incurred, attorneys' fees, and all such
                                                                                                    other and
 further relief as th is Court deems just and proper.

 COUNT VII
 jNegligent Misrepresentationl

  160. Plaintiffs re-allege all prior paragraphs of the Complaint as if set out here in full.
  161. Defendants negligently and/or recklessly misrepresented to Plaintiffs, their prescribing physicians
                                                                                                            , and
  the healthcare industry the safety and effectiveness of FLQs and/or recklessly and/or negligentl
                                                                                                    y concealed
  material information, includingadverseinfonnation, regardingthe safety, effectiveness, and dangers
                                                                                                           posed
  by FLQ drugs.
  162. Defendants made reckless or negligent misrepresentations and negligently or recklessly concealed
  adverse information when Defendants knew, or should have known, that FLQs had defects, dangers, and
  characteristics that were other than what Defendants had represented to Plaintiffs, Plaintiffs' physicians, and
  the healthcare industry.      _
  163. Specifically, Defendants negligently or recklessly concealed from Plaintiffs, their prescribing
  physicians, thehealth care industry, andthe consuming public that: there was evidence(e.g., Karlman, et
  al.) of peripheral paresthesia associated with FLQ therapy (Ciprofloxacin) as early as 1988. That there
                                                                                                             was
  evidence (e.g., Hedenmalm, et al.) demonstrating that FLQs increase the risk of irreversible peripheral
  neuropathy as early as 1996.
  164. That the FLQ drugs were not fully and assessed by Defendants and/or their predecessor for the risk of
  developingirreversible peripheral neuropathy.
  165. The severity, frequency, rapid onset, and potentially disabling nature of peripheral neuropathy caused
  by the FLQ drugs.
  166. The wide range of injuries caused by FLQ drugs to multiple body systems (e.g., musculoskeletal,
  neuropsychiatric, peripheral nervous system, senses like vision or hearing, skin, and cardiovascular);
                                                                                                          and
 That FLQs should not be used as a first-line therapy for minor or uncomplicated infections.
 167. The negligent or reckless misrepresentations and/or negligent or reckless failures to disclose were
 perpetuated directly and/or indirectly by Defendants.
 168. Defendants should liave known through the exercise of due care that these representations were false,
 and they made the representations without the exercise ofdue care leadingto the deception of Plaintiffs,
 their prescribing physicians, and the liealthcare industry.
 169. Defendants made these false representations witliout the exercise of due care knowing that it was
 reasonable and foreseeable that Plaintiffs, their prescribing physicians, and the healthcare industry would
 rely on them, leading to the use of FLQs by Plaintiffs as well as the public.
 170. At all times herein mentioned, neither Plaintiffs nor their physicians were aware of the falsity or
 incompleteness ofthe statements being made by Defendants and believed them to be true.
("SALVO_v_PERRIGO_CO_PLC_et_al_njdce-21-15025_OOOI .0.pdf') Had Plaintiffs been aware of
said facts, their physicians would not have prescribed, and Plaintiffs would not have taken the FLQ drugs.
171. Plaintiffs justifiably relied on and/or were induced by Defendants' negligent or reckless
misrepresentations and/or negligent or reckless failure to disclose the dangeis of Defendants' FLQ drugs
                                                                                                              and
relied on the absence of information regardingthe dangers ofthese drugs which Defendants negligently
                                                                                                             or
recklessly suppressed, concealed, or failed to disclose to Plaintiffs' detriment.
172. Defendants had a post-sale duty to warn Plaintiffs, their prescribing physicians, and the general public
about the potential risks and complications associated with their FLQ drugs in a timely manner.
173. Defendants made the representations and actively concealed information about tlie defects and
                                                                                                        dangers
of their FLQ drugs with the absence of due care such that Plaintiffs' prescribing physicians and the
consuming public would rely on such information, or the absence of information, in selecting these
                                                                                                       FLQs as
a treatment.
174. As a result of the negligent or reckless concealment and/or the negligent or reckless failure to provide
materials facts as setforth above, Plaintiffs ingested Defendants' FLQ drugs and suffered injuries as set
forth herein.

WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their favor for compensa
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advertised; and ("Sold car fhat doesn't pass inspection - TheLaw.com"). Engaging in fraudulent or deceptive
conduct that creates a likelihood of confusion or misundetstanding. ("XAVIERBECERRA Exempt from
Filing and Reporter Attorney ...")
185. Defendants violated consumer protection laws through their use of false and misleading
misrepresentations or omissions of material fact relating to the safety of their FLQ drugs.
186. Defendants violated consumer protection laws of North Carolina.
187. Defendants uniformly communicated the benefits oftheir FLQ drugs while failingto disclose the
serious and dangerous side effects related to the use of FLQs and of the true state of FLQs' safety, efficacy,
and usefulness. Defendants rriade these representations to physicians, the medical community at large, and
to patients and consumers, such as Plaintiffs, in the marketing and advertising campaign described herein.
188. Defendants' conduct in connection with their FLQ drugs were also impermissible and illegal in that it
created a likelihood of confusion and misunderstanding, because Defendants misleadingly, falsely and or
deceptively misrepresented and omitted numerous material facts regarding, among other things, the utility,
benefits, costs, safety, efficacy, and advantages of FLQs.
189. As a result ofthese violations of consumer protection laws, Plaintiffs have incurred and will incur
serious physical injury (including in some cases death), pain, suffering, loss of income, loss of oppoi-tunity,
loss of family and social relationships, and medical, hospital and surgical expenses and other expense
related to the diagnosis and treatment thereof, for which Defendants are liable.

WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their favor for compensatory
and punitive damages, together wifh interest, costs herein incurred, attorneys' fees, and all such other and
further relief as this Court deems just and proper.

COUNT X
f Loss of Consortiuml

190. Plaintiffs re-allege all prior paragraphs of the Complaint as if set out here in full.
191. Plaintiffs plead this Count in the broadest sense, pursuant to all laws that may apply pursuant to choose
of law principles, including the law of the Plaintiffs' resident state.
192. At all relevant times hereto, where applicable, Plaintiffs had spouse (hereafter referred to as "Spouses'
Plaintiff') and/or family merribers (hereafter referred to as "Family Member Plaintiffs") who have suffered
injuries and losses because ofthe Plaintiffs' injuries from Defendants' FLQ drugs.
193. For the reasons set forth herein, Plaintiffs' spouse has necessarily paid and have become liable to pay
for medical aid, treatment, monitoring, medications, and other expenditures and will necessarily incur
further expenses of a similar nature in the future as a proximate result of Defendants' misconduct.
194. For the reasons set forth herein, Plaintiffs' spouse and/or Family Members of Plaintiff (two elementary
aged children) have suffered and will continue to suffer the loss of their loved one's support,
companionship, services, society, love, and affection.
195. For the Plaintiffs' spouse, Plaintiff alleges that their marital relationship was impaired and depreciated,
and the marital association between husband and wife has been altered.
196. Plaintiffs' spouse and/or Plaintiffs' Family Members have suffered great emotional pain and mental
anguish.
197. As a dit-ect and proximate result of Defendants' wrongful conduct, Plaintiffs' spouse, Plaintiffs' Family
Members of the previously mentioned Plaintiffs, have sustained and will continue to sustain severe physical
injuries, severe emotional distress, economic losses, and other damages for which they are entitled to
compensatory and equitable damages and declaratory relief in an amount to be proven at trial.
198. Defendants are liable to Spouse Plaintiffs, Family Member Plaintiffs, and jointly and severally for all
general, special, and equitable reliefto which Spouse Plaintiffs, Family Member Plaintiffs, and intimate
partners are entitled by law.

WHEREFORE, Plaintiffs respectfully request that this Court enterjudgment in their favor for compensatoiy
and punitive damages, together with interest, costs herein incurred, attorneys' fees, and all such other and
further relief as this Court deems just and proper.


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 and punitive damages, together with interest, costs herein incurred, attorneys' fees, and all such othe • and
 further relief as this Court deems just and proper.

 COUNT VIII
 fFraudulent Concealmentl

 175. Plaintiffs re-allege all prior paragraphs ofthe Complaint as if set out here in full. ("Sadie Grace
 Andrews - Lawsuit I PDF I Negligence I Damages")
 176. Defendants are estopped from asserting a statute of limitations defense because they fraudulently
 concealed their wrongful conduct from the Plaintiffs with the intent that Plaintiffs and their prescribing
 physicians would rely on such material representations.
     • First, Defendants had actual knowledge of the defective and dangerous nature of the FLQ drugs.
     e   Second, Defendants failed to conduct adequate testing on their FLQ drugs to establish safety and
         efficacy. Third, Defendants had actual knowledge of their misrepresentations, negligence, breach of
         warranties, and false, misleading, deceptive, and unconscionable conduct. Yet, Defendants
         continued to perpetuate their wrongful conduct with the intent and fixed purpose of concealing their
         wrongs from the Plaintiffs and the public at large.
 177. Plaintiffs and their prescribing physicians were unaware ofthe falsity ofthese representations, they
acted in actual and justifiable reliance on such material misrepresentations, and Plaintiffs were injured as a
direct and proximate result.
 178. Additionally, Defendants knowingly omitted material information and remained silent regarding said
 misrepresentations despite the fact that they liad a duty to inform Plaintiffs, their prescribing physicians, and
the general public of the inaccuracy of said misrepresentations, which omission constitutes a positive
misrepresentation of material fact, with the intent that Plaintiffs and their prescribing physicians would rely
on Defendants' misrepresentations. Plaintiffs and their prescribing physicians did, in fact, act in actual and
justifiable reliance on Defendants' representations, and Plaintiffs were injured as a result.
179. Defendants, as the manufacturer and/or distributor of their FLQ drugs, were in a position of superior
knowledge and judgment regarding any potential risks associated with their drugs.
180. Defendants committed constructive fraud by breaching one or more legal or equitable duties owed to
Plaintiffs relating to the FLQ drugs at issue in this lawsuit, said breach or breaches constituting fraud
because of its propensity to deceive others or constitute an injury to public interests or public policy.
In breachingtheir duties to Plaintiffs, Defendants used their position oftrust as the manufacturer and/or
distributor of FLQ drugs to increase sales of the drugs at the expense of inform ing Plaintiffs that, by
ingesting these drugs, they were placingthemselves at a significantly increased risk of developing
irreversible peripheral neuropathy and/or injuriesto multiple oth er body systems (e.g., musculoskeletal,
neuropsychiatric, senses like vision or hearing, skin, and cardiovascular).

WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their favor for compensatory
and punitive damages, togetller with interest, costs herein incurred, attorneys' fees, and all such other and
further relief as this Court deems just and proper.

COUNT IX
[Violation of Consumer Protection Laws/Consumer Fraud Laws]

181. Plaintiffs re-allege all prior paragraphs of the Complaint as if set out here in full.
182. Plaintiffs plead this Count in the broadest sense available under the law, to include pleading same
pursuant to all substantive law that applies to this case, as may be determined by choice of law principles,
regardless of whether arising under statute and/or ("Court of Common Pleas of Philadelphia County For ..")
common law.
183. Plaintiffs used Defendants' FLQ drugs and suffered ascertainable losses as a result of Defendants'
actions in violation ofthe consumer protection laws.
184. Defendants used unfair methods of competition or deceptive acts or practices that were proscribed by
law, including the following: Representing that goods or services have characteristics, ingredients, uses,
benefits, or quantities that they do not have. Advertising goods or services with the intent not to sell them as

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PUNITIVE DAMAGES

199. At all times material hereto, Defendants knew or should have known that their FLQ drugs were
inherently dangerous with respect to the risk of irreveisible peripheral neuropathy.
200. At all times material hereto, Defendants attempted to misrepresent and did misrepresent facts
concerningthe safety oftheir FLQ drugs.
201. Defendants' misrepresentations included knowingly withholding material information from the medical
community and the public, including Plaintiffs, concerning the safety of the FLQ drugs.
202. At all times material hereto, Defendants knew and recklessly disregarded the fact that their FLQ drugs
cause the chronic disease of irreversible peripheral neuropathy and/or injuries to multiple otherbody
systems.
203. Notwithstanding the foregoing, Defendants continued to aggressively market their FLQ drugs to
consumers, including Plaintiffs herein, without disclosing the previously mentioned side effects.
204. Defendants knew oftheir FLQ drug's lack ofwarnings regarding the risk of developing irreversible
peripheral neuropathy atid/or injuries to multiple otherbody systems, butthey intentionally concealed and/or
recklessly failed to disclose that risk and continued to market, distribute, and/or sell their FLQ drugs without
said warnings so as to maximize sales and profits at the expense of the health and safety of the public,
including Plaintiffs herein, in conscious and/or negligent disregard of the foreseeable harm caused by their
FLQ drugs.
205. Defendants' intentional and/or reckless failure to disclose information deprived Plaintiffs of necessary
 information to enable them to weigh the true risks of using FLQs against their benefits.
206. As a direct and proximafe result of Defendants' willful, wanton, careless, reckless, conscious, and
deliberate disregard for the rights and safety of their consumers, Plaintiffs suffered severe and permanent
 physical and emotional injuries, including, but not limited to, irreversible peripheral neuropathy and/or
 injuries to multiple otherbody systems. Plaintiffs have endured pain and suffering, have suffered economic
 loss, including incun•ing significant expenses for medical care and treatment, and will continue to incur such
 expenses in the future. ("Levaquin Lawsuit Alleges Antibiotic Caused Peripheral ...") Plaintiffs' injuries and
 damages are prolonged and/or permanent and will continue.
 207. Defendants' previously mentioned conduct was committed with knowing, conscious, careless, reckless,
 willful, wanton, and deliberate disregard for the rights and safety of consumers, including Plaintiffs, thereby
 entitling Plaintiffs to punitive damages in an amount appropriate to punish Defendants and deter them from
 similar conduct in the future.

IaEI.IEF REQUESTED

WHEREFORE, Plaintiffs pray for relief and judgment against Defendants as follows:
  • For general (non-economic) and special (economic) damages in a sum in excess of the jurisdictional
    minimum ofthis Court. For medical, incidental, and hospital expenses accordingto proof.
  • For pre judgment and post judgment interest as provided by law. For full refund of all purchase
    costs Plaintiffs paid for Defendants' FLQ drugs. For compensatory damages more than the
    jurisdictional minimum of this Court. For consequential damages more than the jurisdictional
    minimum ofthis Court.
  •   For punitive damages in an amount more than any jurisdictional minimum of this Court and in an
    amount sufficient to impress upon ("AndroGel Lawyers Have Filed Androgel Lawsuit in Illinois")
     Defendants the seriousness of their conduct and to detersimilar conduct in the future.
  • For attorneys' fees, expenses, and costs of this action; and ("EX-99.1 - SEC") "For such further
     relief as this Court deems necessary, just, and proper." ("AndroGel Lawyers Have Filed Androgel
     Lawsuit in Illinois")

                                                    Respectfully subinitted,

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